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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 GONZALO VALLE ARRIZON, et al.,

           Plaintiffs,
                                                                     Case No. 1:20-cv-788
 v.
                                                                     HON. JANET T. NEFF
 CHAD F. WOLF, et al.,

           Defendants.
 ____________________________/


                                             ORDER

        Pending before the Court is Plaintiffs’ Pre-motion Conference Request concerning their

anticipated motion for partial summary judgment (ECF No. 5). Defendants filed their Response

(ECF No. 7). The Court will require the parties to, not later than September 23, 2020, file a joint

notice indicating whether the parties agree or do not agree to have a United States Magistrate Judge

conduct any and all further proceedings in the instant case, including trial, and to order the entry

of final judgment.1

       IT IS SO ORDERED.


Dated: September 9, 2020                                       /s/ Janet T. Neff
                                                             JANET T. NEFF
                                                             United States District Judge




       1
        If the parties consent to the jurisdiction of a magistrate judge pursuant to 28 U.S.C.
§ 636(c), an Order of Reference will be issued transferring the matter to the magistrate judge and
allowing appeals to be taken to the United States Court of Appeals for the Sixth Circuit, in
accordance with 28 U.S.C. § 636(c) and FED. R. CIV. P. 73(c).
